` Case 3:13-cr-00127-.]AG Document 6 Filed 07/01/13 Page 1 of 2 Page|D# 11

IN THE UNITED STATES DISTR.ICT COURT
FOR TH'E EASTERN DISTRIC'I` OF VIRGINIA

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PROCEED@GS §§MI lS'l°F-ATE JUDGE[\lQ\) @K,DATE~ "1" ____|____ 13
cAsE No_;'_?>_g_r&) wyqu INTERPRETER

 

 

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Counscl for Govcrnment M\Ch§@l C)s moe R.Q/

Counsel for Dcfendant(s)

 

 

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PROCEEDINGS: INITIAL APPEARANCE DETENTIGN
HEARING
Govt’s motion to unseal indictment, granted

ARREST DATE

Court summarized charges

Court advises of deft’s Rule 5 rights

Financial Aftidavit submitted for approval

CJA counsel to bc appointed

Deft. to retain counsel

Govt‘s motion to detain dcft. granted denied
Dcft requests continuance to prepare for detention hearing
Go\'t. requests continuance to prepare for detention hearing
Detention bearing set for
Order of'l`cmpornry Detcntion pending hearing
Govt. adduced evidencc, rested

Det`t. adduced evidence, rested

4 Argumcnts heard

Findings stated from thc bench

 

 

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Order of Detention Pending Trial
Court: Orders bond set at` `

Residence/travel restricted to EDVA

Pretrial Supervision

No drugs, tirearms, alcohol

Maintainlseck employment

Avoid contact with potential witnesses, victims, etc.
substance abuse testing and treatm ent; pay costs

Electronic monitoring; pay costs

3" party custodian

Maintaio contact with attorney

Surrender passport obtain no passport
Il‘ deft pleads guilty or found guilty report to PO

May report to AUSA as long as attorney is present

Remain inside and may only leave with approval of Pretrial

Additional conditions:

 

 

 

 

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